                                                                                                                          FILED
                                                                                                               CLERK, U.S. DISTRICT COURT
          Case 2:23-mj-00165-DUTY Document 1 Filed 01/13/23 Page 1 of 55 Page ID #:1
                                                                                                                       1/13/2023
AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)         ‫ ܆‬Original    ‫ ܆‬Duplicate Original
                                                                                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                                              BYl{J.u...::.J/,_u.,J,,Je..,DEPUTY

                              UNITED STATES DISTRICT COURT
                                                        for the                                                  1/13/2023
                                                                                                                     VAV
                                            Central District of California

 United States of America

                 v.

 CAROLINE JOANNE HERRLING,                                        Case No.    2:23-mj-00165-DUTY
  aka Carrie Phenix,
  aka Caroline Gardiner,

          Defendant

                           CRIMINAL COMPLAINT BY TELEPHONE
                          OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

As described in the accompanying attachment, defendant violated the following statutes:

           Code Section                                           Offense Description

           18 U.S.C. §§ 1343, 1349, 1028A,                        Wire Fraud Conspiracy, Aggravated
           21 U.S.C. §§ 841(a)(1), (b)(1)(C)                      Identity Theft, Possession with Intent
                                                                  to Distribute Controlled Substances
         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                               /s Mark O’Donnell
                                                                                 Complainant’s signature

                                                                             Mark O’Donnell, Detective
                                                                                  Printed name and title

 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                1/13/23
                                                                                     Judge’s signature

 City and state: Los Angeles, California                              Hon. Charles Eick, U.S. Magistrate Judge
                                                                                  Printed name and title


AUSA Andrew Brown, 11th Floor, x0102
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                                        Complaint Attachment

                                       Count One, 18 U.S.C. § 1349
        Beginning in or before 2020, and continuing through at least January 12, 2023, in Los Angeles
County, within the Central District of California, and elsewhere, defendant CAROLINE JOANNE
HERRLING, aka “Carrie Phenix,” aka “Caroline Gardiner” (“Defendant”), and others, conspired to
commit wire fraud, in violation of Title 18, United States Code, Section 1343. The object of the
conspiracy was carried out, and to be carried out, in substance, as follows: Defendant and her co-
conspirators would steal the identities of elderly and vulnerable victims who owned real property.
Defendant and her co-conspirators would forge power of attorney forms so that defendant could pretend
to act on behalf of her victims when stealing their real estate. Defendant and her co-conspirators would
dispose of the bodies of some of defendant’s victims in order to make it appear that they were still alive
and supported the actions she wanted to take with their properties. Defendant would also attempt to hide
the death of one of her victims by hiring persons to impersonate him, and to falsely claim to have seen
him alive. Defendant and her co-conspirators used interstate wires to defraud their victims throughout
this conspiracy.

                                      Count Two, 18 U.S.C. § 1028A
        Beginning in or before 2020, and continuing through at least January 12, 2023, in Los Angeles
County, within the Central District of California, and elsewhere, defendant CAROLINE JOANNE
HERRLING, aka “Carrie Phenix,” aka “Caroline Gardiner,” knowingly transferred, possessed, and used,
without lawful authority, a means of identification of another person during and in relation to a felony
violation of Title 18, United States Code, Section 1349, Conspiracy to Commit Wire Fraud, as charged
in Count One, knowing that the means of identification belonged to another actual person.

                              Count Three, 21 U.S.C. §§ 841(a)(1), (b)(1)(C)
       Beginning on an unknown date, and continuing through at least January 12, 2023, in Los
Angeles County, within the Central District of California, and elsewhere, defendant CAROLINE
JOANNE HERRLING, aka “Carrie Phenix,” aka “Caroline Gardiner,” knowingly and intentionally
possessed with intent to distribute a mixture or substance containing a detectable amount of heroin and
psilocybin, schedule I controlled substances, and methamphetamine, a schedule II controlled substance.
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                              AFFIDAVIT

I, Detective Mark O’Donnell, being duly sworn, hereby depose and

state as follows:


        TRAINING AND EXPERIENCE

        1.   I am a sworn police officer for the Los Angeles Police

Department (LAPD), currently assigned to Operations-Valley

Bureau Homicide as a detective supervisor.        I have been employed

by the LAPD since June 1996.      I have been a detective since

2005.    In my current assignment, I am tasked with supervising a

team of detectives, who investigate all manner of deaths within

the Bureau, including murder.      Prior to my assignment as a

supervisor, I was a homicide investigator for thirteen years.           I

have participated in the investigations of hundreds of

homicides, which have resulted in the arrests and convictions of

dozens of individuals for murder, manslaughter, and kidnaping.

These investigations often revealed various motives, including

financial gain. I have authored countless search warrants to

financial institutions to show the flow of money to various co-

conspirators.    I have worked with experienced detectives from

the LAPD Forgery and Financial Crimes Sections, who have

assisted me in understanding complex financial crimes.          Prior to

this assignment, I have been assigned to investigate robberies,
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burglaries, thefts, and forgeries.

     2.   I am familiar with the facts and circumstances

described herein.    This affidavit is based upon my personal

involvement in this investigation, my training and experience,

and information obtained from various law enforcement personnel

and witnesses, including information that has been reported to

me either directly or indirectly.      This affidavit does not

purport to set forth my complete knowledge or understanding of

the facts related to this investigation.        Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and part only.          All

figures, times, and calculations set forth herein are

approximate.


     SUMMARY AND PURPOSE OF AFFIDAVIT: COMPLAINT

    3.    This affidavit is made in support of a complaint

against CAROLINE HERRLING, aka Caroline Phenix, aka Carrie

Phoenix (“HERRLING”) for violations of 18 U.S.C. §§ 1028A, 1343,

1349 (conspiracy to commit wire fraud, aggravated identity

theft) and 21 U.S.C. § 841(a)(1) (Possession with Intent to

Distribute Controlled Substances) following her probable cause

arrest on January 12, 2023.

  A. Summary of Investigation

     4.   In October 2021, the Los Angeles Police Department


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initiated an investigation in which a man named Charles Wilding

was reported missing.    I became involved because he appears to

be dead and an unidentified caller stated his death may have

been as a result of foul play.      The investigation led to a woman

named Carrie or CAROLINE HERRLING (“HERRLING”), a/k/a Carrie

PHENIX.   HERRLING has identified herself as a close family

friend of the Wildings, and the trustee of the Wilding Family

Trust, allegedly created by June Wilding, Charles’ mother (June

died in 2017), but which is actually a forgery.         HERRLING was

interviewed by uniformed Los Angeles Police Officers at the

Wilding family residence, 3860 Kingswood Road, Sherman Oaks, CA.

At the time, she claimed that Charles Wilding had moved

temporarily to the City Carpinteria; in fact he appears to be

dead, but his body has not been found.       Subsequent to this

missing person investigation, I obtained several court filings

made by HERRLING in reference to her appointment as the trustee

and beneficiary of the Wilding Family Trust.        Many of these

documents have been falsified and/or forged.

     5.    I also learned that Charles Wilding is listed as the

executor and beneficiary to the Jackie Shields Lowenstein Will.

This Will was purportedly “discovered” by HERRLING in a safe

deposit box rented by June Wilding.       Like the “Wilding Family

Trust,” the Lowenstein Will is a forgery.        Based on the forged

Lowenstein Will, Charles Wilding (whose assets HERRLING controls

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through the forged Wilding Family Trust) was to inherit over

$1.7 Million, mainly from the sale of Lowenstein’s Property.

Court filings by HERRLING in relation to the authenticity of

Lowenstein Will are falsified and/or forged.        Because Wilding

appears to be dead, and HERRLING controls his assets through the

Wilding Family Trust, HERRLING effectively took control, too, of

the Lowenstein Property by listing him as the executor and

beneficiary to the Lowenstein Will, which was forged.

     6.      In addition to stealing the estates of the deceased,

HERRLING has also taken over real estate of the living through

identity theft.    Using forged documents, HERRLING sold the

property of Robert Tascon for almost $1.5 million.         HERRLING

then took funds from her fraud to purchase HERRLING’S WOODLAKE

RESIDENCE.    (The buyer of Tascon’s property is currently in a

civil dispute with Tascon’s estate.       Tascon died of a gunshot

wound to the head on September 11, 2022, which the police

determined to be a suicide).

     7.      On January 12, 2023, I and other law enforcement

officers executed federal search warrants on the current and

former residences HERRLING and found among other things: a

valid passport of a person who resembles HERRLING, numerous

loaded guns, including one in HERRLING’s purse, authentic

looking federal law enforcement and Beverly Hills Police badges,

various kinds of drugs, including for distribution, blank

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prescription forms, stolen identities, counterfeit

identifications, and documents showing evidence of fraud and

forgeries, including notes where HERRLING was practicing signing

the names of victims, among many other items of evidence.                 We

arrested HERRLING on probable cause.


        Probable Cause Statement

        8.     In June 2022, I contacted Inspector Lyndon Versoza 1 of

the United States Postal Inspection Service, seeking assistance

in the Wilding Missing Person case, where it is believed that

HERRLING has defrauded and continues to try to defraud the

Wilding estate and likely is involved in the other real estate

fraud and wire fraud schemes involving the Lowenstein and Tascon

estate.      From my investigation I learned:

             a.      Charles Howard Wilding, Jr. was born in 1951.

Wilding lived his entire life at 3860 Kingswood Road in Sherman

Oaks, CA in the City of Los Angeles.             Wilding’s father, Charles

Wilding, Sr. died in the late 1960s. Wilding lived with his

mother, June Wilding, until she died in 2017.               He was an only

child.       Residents on Kingswood Road described the Wildings as

reclusive.        After June’s death, Wilding was rarely seen outside




1
    Inspector Versoza is designated as a Subject Matter Expert in Money Laundering
for the US Postal Inspection Service.      He has about 20 years of federal law
enforcement experience.
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the home and did not have visitors.        Occasionally, Wilding was

seen walking to and from a local market and would exchange

pleasantries with neighbors.

  A. Anonymous call regarding Charles Wilding

     9.     On October 6, 2021, I received an anonymous phone call

from an individual, who did not wish to provide their name or

contact information.    The caller stated that a male named

Charles Wilding was possibly deceased, and his death was not

being reported because unidentified individuals are utilizing

his identity for financial gain.      The caller did not identify

these individuals but described them as drug users and dangerous

people.    The caller provided an address of 3860 Kingswood Road

in Sherman Oaks, where Wilding lived.       The caller alluded that

Wilding's death may have been as a result of foul play, without

providing additional details. The caller disconnected the line.

     10.      I queried Los Angeles Police Department resources and

determined that Charles Wilding was documented as the victim on

an incident report, dated December 21, 2020, bearing LAPD DR No.

XX-XXXXXXX.    The report was completed after a radio call was

generated by a concerned neighbor.        The neighbor stated that

Wilding had not been seen in three months and is known to be a

recluse, without family or friends.

     11.    Police Officers Abiva, Serial No. 44313 and Gutierrez,

Serial No. 36816 (9A89) responded to the Kingswood residence,

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Incident No. 201221002240 (Body Worn Video available).          From

reading their report or speaking with these officers, I know:

           a.    The officers met with HERRLING and her

“assistant,” Hadley Pelletier.      HERRLING identified herself as

Wilding's Trustee.    She stated that Wilding was not home and was

staying with friends in the City of Carpinteria, while she was

working to get the house back in order, as it was in disarray

and contained black mold.     HERRLING was unable to provide a

current address for Wilding, only a phone number, (818) 789-7789

(the “Wilding Landline”), which she claimed was forwarded to

Wilding’s cell phone number, which she said did not have.

           b.    The officers attempted to call this number but

were unable to connect with anyone.       HERRLING also provided a

case number for Adult Protective Services, 550108. The case

worker verified to the officers there is an open case; however,

no contact had been made with Wilding.       Officers Abiva and

Gutierrez checked the Kingswood residence with negative results.

The officers also spoke with neighbors, who expressed concern as

they had not seen Wilding in months.

  B. Contact with Adult Protective Services

     12.    On October 6, 2021, I contacted Social Worker Karolin

Asadourian from Adult Protective Services.        The case was closed

on Wilding on January 8, 2021.      According to Asadourian, she

spoke by telephone with someone she understood to be Wilding on

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December 22, 2020.     “Wilding” told her that he was staying in

Carpinteria with friends (no address given), as HERRLING had

informed the police.     The number the social worker had written

down for Wilding was (818) 301-9256 (hereinafter, the “First

Fake Wilding Number”).

   C. HERRLING conceals Charles Wilding’s true whereabouts

      13.    I contacted Carrie HERRLING via telephone on October

11, 2021.    HERRLING explained that she is the Trustee to the

Wilding Estate and Charles is currently living in the City of

Carpinteria (unknown address).       She explained that she was

tasked with cleaning out Wilding's home on Kingswood Rd.           She

provided a contact number for Wilding, the same First Fake

Wilding Number provided to me by Social Worker Asadourian.           I

called this number (the First Fake Wilding Number, -9256) and

spoke with a male named David Beach.        Mr. Beach stated the

number is an NBC executive number and there is no Charles

Wilding connected to it. Beach has had this number for only a

month or two.

   D. HERRLING Obtains a New Cellular Telephone Number and Pays a
      Man to Use It to Pretend that He Is Charles Wilding, in Hopes
      of Forestalling a Missing Persons Investigation

      14.    I contacted HERRLING again and instructed her to

provide a good telephone number and address for Wilding by

October 12, 2021, or a missing persons investigation would be

initiated.    HERRLING contacted me on October 12, 2021, and


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stated she was in the company of “Charles,” and placed him on

the line.   The male stated he was “Charles Wilding” and he was

currently staying at an address in California (hereinafter the

“Fake Wilding Address”).      The male said he was previously

staying with friends in Carpinteria.        The male identifying

himself as Charles Wilding provided a current cellular phone

number of (818) 860-3077 (hereinafter the “Second Fake Wilding

Number”). I asked the male if he knew his Social Security Number

or his California Driver License number, which he did not.           The

male then placed HERRLING back on the line.         HERRLING explained

that Wilding had changed his phone number without her knowledge,

and he is now living at the Fake Wilding Address with a friend

(hereinafter “HERRLING’s Hireling”).        As described below, this

appears to have been a lie:      Wilding did not obtain the Second

Fake Wilding Number, as HERRLING said; rather HERRLING obtained

that number, as described below.       She also provided a phone

number for HERRLING’s Hireling, with whom she claimed Charles

Wilding was staying.

      15.   On October 19, 2021, Detective Navarro and I responded

to the Fake Wilding Address, where HERRLING said Wilding was

staying.    We spoke with HERRLING’s Hireling, who stated that

Charles Wilding did not live there.        HERRLING’s Hireling said he

knew Wilding vaguely but had not seen him in years.

      16.   On March 30, 2022, I re-interviewed HERRLING’s

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Hireling at his home in Simi Valley.        HERRLING’s Hireling stated

he had lied to me during the first interview and that he does

not know, nor has he ever met, Charles Wilding.          The day before

I came to interview him in October, HERRLING’s Hireling was

contacted by Carrie HERRLING.       HERRLING told HERRLING’s Hireling

to tell anyone that may come to his door inquiring about Charles

Wilding to say that he knew him, and the last time he saw

Wilding, he had a “pocket full of money.”         She paid HERRLING’s

Hireling $5000 and texted him a “script” on what to say.

HERRLING deposited two “Zelle” transactions into HERRLING’s

Hireling’s bank account.      One was for $3500 and the second was

for $1500.      HERRLING’s Hireling does not have the text messages

but stated his phone records would have a record of the

correspondence between their numbers.        I obtained HERRLING’s

bank records pursuant to a state search warrant from Bank of

America.    I was able to locate two “Zelle” transactions to

“HERRLING’s Hireling” on October 12, 2021 for $3500 and October

15, 2021 for $1500.

      17. Inspector Versoza told me that on July 27, 2022, he

and Inspector Noah Thompson interviewed HERRLING’s Hireling at

the Fake Wilding Address.      This interview was recorded.       From

speaking with Inspector Versoza, I learned the following:

           a.      From a call with an intermediary for HERRLING

(“HERRLING’s Intermediary”), HERRLING’s Hireling was informed

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that HERRLING was being pressured by the Los Angeles Police

Department (LAPD) who was investigating the disappearance of

Wilding. HERRLING’s Hireling was also told that HERRLING was

also being extorted by a person named "Doyle," who threatened to

reveal HERRLING's alleged probate court fraud to the police

unless she paid him $50,000. HERRLING’s Intermediary asked if

HERRLING’s Hireling could help make these problems go away, and

mentioned that HERRLING was willing to pay. HERRLING’s Hireling

offered to make a call to a watch commander at the LAPD, whom he

said he knew personally, and have the case file thrown out in

exchange for $5,000. HERRLING’s Hireling would also find Doyle

and silence him.     HERRLING’s Hireling shortly later received a

$3,500 deposit into his bank account via Zelle, which he said

surprised him as he had thought it was just a casual

conversation. The next day, HERRLING’s Hireling called

HERRLING’s Intermediary and complained about only receiving

$3,500, when the agreement was $5,000 to which HERRLING’s

Intermediary explained that HERRLING could only send money in

increments and promised to send the remaining $1,500. After

receiving the full amount, HERRLING’s Hireling told HERRLING’s

Intermediary that he knew a "patch holder" (a fully initiated

member of an outlaw motorcycle gang) who could help them find

Doyle and make him "shut his fucking mouth." He also stated that

his watch commander friend would take the case file from

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Detective O'Donnell and either throw it out or reassign it.

HERRLING’s Hireling claimed that he was just acting and playing

along, but that HERRLING’s Intermediary and HERRLING seemed to

believe him. A few weeks later, HERRLING’s Intermediary called

HERRLING’s Hireling and implied that he knew HERRLING’s Hireling

had not followed through on their agreement. (I have attempted

to locate a tip or report like the one “Doyle” threatened to

make against HERRLING without success, so it appears that for

whatever reason, “Doyle” did not follow through on his threat to

expose HERRLING.)     HERRLING’s Intermediary then asked HERRLING’s

Hireling to lie to the police if they asked about "Chuck"

(Wilding). HERRLING’s Hireling demanded an additional $10,000

for this and said he would follow a script they would write,

otherwise he would tell them whatever he wanted, to which

HERRLING’s Intermediary responded by asking what would be

included in the payment and how could they trust him after he

previously scammed them. HERRLING’s Hireling said that they

could either trust him or not. HERRLING’s Intermediary later

told HERRLING’s Hireling that HERRLING was out of the country,

which HERRLING’s Hireling suspected was not true. HERRLING’s

Hireling also discussed what he had heard about HERRLING's

alleged probate fraud.      HERRLING’s Hireling has felony

convictions.

      18.   During the search of HERRLING’s residence, inside her

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phone was a text message from HERRLING to HERRLING’s Hireling.

In the message, HERRLING confirms that she paid him $3,500 an

additional $1,500 as payment and discusses “Charles” [Wilding]

and a police detective [me].       This text message corroborates

some of the statements made by HERRLING’s Hireling. (During her

interview on January 12, 2023, HERRLING claimed that she paid

HERRLING’s Hireling a few thousand dollars for “rent” for

Wilding – but this is inconsistent with her text message, which

said that “Charles” talked with the detective “so all is good”

but that she would pay HERRLING’s Hireling the outstanding

$1,500 nonetheless.)

      19.   On October 20, 2021, Detective Navarro and I

interviewed HERRLING at 2337 S. BEVERLY GLEN BOULEVARD, UNIT 6,

(HERRLING’S BEVERLY GLEN APARTMENT), where she was then

residing.   HERRLING explained that she is the Trustee of the

Wilding Family Trust.     According to HERRLING, June Wilding,

Charles’ mother, named her as a secondary Trustee to Charles

Wilding.    She further claimed that Charles Wilding was unable to

carry out the responsibilities of the trust; therefore, HERRLING

became the primary Trustee. I explained to HERRLING that Wilding

was not located at the address she provided to me (the Fake

Wilding Address in Simi Valley).       She seemed puzzled by this.       I

verified that she was in his company on October 12th and she

confirmed that she was and had picked him up at an unknown

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address in Simi Valley.      I asked HERRLING to contact Wilding on

the phone while we were present.       HERRLING said she needed to

find his phone number and began to look around. I told HERRLING

that I had the number that was provided to me on October 12th,

(818) 860-3077 (Second Fake Wilding Number).         HERRLING called

the number and it went straight to voicemail.         She left a

message asking Wilding to call me as it was urgent.

      20.    I asked HERRLING to provide me a copy of the trust

document.    I also observed a receipt on the table from T-Mobile.

The receipt was for the purchase of a prepaid cellular phone on

October 11, 2021 at 1647 hours from the T-Mobile store located

at 10569 W. Pico Blvd in Rancho Park.        Only the last four

numbers of the purchased prepaid phone were shown on the

receipt--the same last four numbers as in the Second Fake

Wilding Number, leading me to believe that HERRLING had

purchased the prepaid phone, not that Wilding had done so

unexpectedly as HERRLING had earlier claimed.         As described

above this is the same number provided by the male, who

identified himself as “Charles Wilding”.         In my training and

experience, criminals who want to hide their association with a

cellular telephone prefer to purchase prepaid ones, like the

Second Fake Wilding Number, because they do not require credit

checks.     The receipt was dated one day before the deadline I had

given HERRLING to produce Wilding or his contact information.

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      21.    On December 14, 2021, I contacted HERRLING requesting

an interview.    She replied that she could not attend; however,

her attorney, Alex Kessel, would be in contact.          Mr. Kessel

contacted me later that day and I explained to him that his

client (HERRLING) was the Trustee to the Wilding Estate and the

beneficiary, Charles Wilding, has been missing since late 2020.

She has stated he is in Carpinteria but could not provide an

address.    She claimed to have been in his company on October 12,

2021; however, could not provide a location of his current

whereabouts.    Mr. Kessel replied that HERRLING has no further

information regarding the whereabouts of Charles Wilding.

      22.    I was contacted by a neighbor, (“Wilding Neighbor”),

who expressed concern over unusual activity that had been

occurring at the Wilding property beginning in January 2021.

This activity included many people coming and going from the

property and multiple vehicles parking on the street at all

hours of the day and night.      Wilding Neighbor provided a letter,

which was distributed by HERRLING to many of Wilding’s

neighbors.    The letter explained that Wilding had been relocated

to “the beach house in Carpinteria where he has spent summers

since childhood” while she worked to get the Wilding property up

to code.    A contact number was left for HERRLING, along with her

“assistant,” Hadley Pelletier.       I have left messages with

HERRLING and her attorney, Alex Kessel, requesting the address

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in Carpinteria in an attempt to locate Wilding.          As of this

writing I have received no response.

   E. HERRLING   files   a   forged   notarized   affidavit    of   Charles
      Wilding

      23.   In January 2021, HERRLING filed a petition in Probate

Court for Letters of Special Administration, Case No.

21STPB00406.     Among other items submitted to the Court by

HERRLING was a notarized affidavit purportedly from Charles

Wilding, dated December 29, 2020.       This document states that

Charles Wilding declines to serve as Executor of his mother’s

(June Wilding) Will.     It is signed by “Charles Wilding” and

notarized by “Behrooz Yasharel”.       I contacted Mr. Yasharel and

e-mailed him a copy of the notarized document.          He immediately

stated the document was forged, based on his printed name.            Mr.

Yasharel provided copies of his notary ledger, which documented

only two appointments on December 29, 2020.         None were Charles

Wilding; however, Carrie HERRLING was a client that day.            In

Inspector Versoza’s training and experience, forgers will often

seek to obtain a genuine article, such as the impression of a

notary’s stamp and his signature, in order to later copy it onto

a forged item in a convincing manner.

      24.   It appears, based on the filings in Probate court,

that HERRLING is attempting to have the property at 3860

Kingswood Road, and all of June Wilding’s assets, placed into

the Wilding Trust through a Heggstad Petition.          Also, according
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to the documents filed by HERRLING, she is attempting to

expedite the decision of the court due to possible identity

theft involving some of June Wilding’s brokerage accounts.

HERRLING provided copies of the statements to the court, which

show several mailings confirming a change of address under June

Wilding’s name from 3860 Kingswood Road to 3532 Bandell St

Acton.    The dates for the change of address are all December 21,

2020.    Through investigation, I determined 3532 Bandell St Acton

is the listed address for Annette Khoodian.         Khoodian has an

extensive criminal history consisting of forgery and identity

theft related crimes.     She is currently wanted on outstanding

identity theft arrest warrants.

        25.   I found a screen shot HERRLING took of her

conversation with her co-conspirator, Kroth, dated March 16,

2021, on her cell phone during the search of HERRLING’s current

residence.     In the message, Kroth asked, “So what’s going on

with the check and other thing that came in the mail?”           HERRLING

responds “I told you there can’t be anymore distributions until

the Heggstad Petition I granted. That hearing is now on April

26th. I totally risked it giving out even the last distribution

bc ultimately I’m legally responsible for it and will be

personally held accountable for it if the court were to order an

accounting of the estate. The risk is significantly reduced if

the Heggstad petition is granted.”

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      26.    During the January 12, 2023 inteview of HERRLING, she

claimed to never have received or taken any money from the

Wilding trust.     She claimed she was working for free out of the

goodness of her heart.

   F. Filing of Declaration by HERRLING stating she spoke with
      Wilding on February 25, 2021

      27.    HERRLING filed a “Declaration of service on an order

shortening time” with the Court on February 26, 2021, where she

declared that she contacted Charles Wilding on February 25,

2021, at the Wilding Landline, spoke with him personally, and

informed him (Wilding) that she (HERRLING) would be filing an

ex-parte application for an order shortening time for hearing on

a PETITION FOR ORDER CONFIRMING SUCCESSOR TRUSTEE AND TRUST

ASSETS.     According to the declaration, Wilding informed HERRLING

that he did not oppose the petition and he would not be

appearing at the hearing.

   G. The Wilding Landline is disconnected.

      28.    I obtained records from AT&T related to this landline

at the Wilding family home at 3860 Kingswood Road, which has

been in service for many years under June Wilding’s name.           There

were no completed calls to that phone number in the month of

February 2021, when HERRLING claimed to have reached Charles

Wilding on it.    In fact, the last completed call was in

September 2020, which coincides with when the concerned neighbor

said Wilding had gone missing.       Furthermore, Wilding has not
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been seen at the property since 2020, and HERRLING claimed to

have moved Wilding from the property in late 2020.          Accordingly,

HERRLING’s declaration that she called him at the Wilding

Landline in February 2021 must be false.

   H. Evidence of forgery on Lowenstein Will

      29.   Through investigation, I also learned that Charles

Wilding is listed as the executor and beneficiary of the Last

Will and Testament for the Estate of Jackie Shields Lowenstein,

Probate Case No. 20STPB02389, which is a forgery, as described

below.   This Will was dated July 22, 2003, and purportedly

witnessed by Jocelyn Karchok and June Wilding (Charles’ mother).

Jackie Shields Lowenstein died on October 18, 2019.          Her estate

was valued at approximately 1.7 million dollars, which mainly

included the property where she died, 4603 Mary Ellen Ave in

Sherman Oaks (Los Angeles County).         The property sold at probate

auction on November 3, 2021 for $1,940,000.

      30.   I obtained copies of the Will, including declarations

submitted to the Court to verify the signatures of the witnesses

(June Wilding and Jocelyn Karchok).        These declarations were

purportedly submitted by Charles Wilding, Francine Robbins

(daughter of witness Jocelyn Karchok), and Caroline HERRLING and

dated June 27, 2021 (Karchok’s declaration), and July 30, 2021

(Wilding’s and HERRLING’s declarations).         According to Court

documents, Wilding was represented by Attorney Rodney Gould.

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      31.   I obtained additional documents submitted to the Court

regarding the estate of Lowenstein, which were purportedly

signed by Charles Wilding on April 14, 2021 and December 19,

2021.   It is important to note that Charles Wilding has been

missing since at least September 2020.        I have personally

attempted to locate Charles Wilding since October 2021 with

negative results.     I also found it unlikely that Wilding--who

has been described as a recluse, rarely left his home and had no

visitors to his property--was the executor and beneficiary to

the Lowenstein estate and was signing documents as late as

December 2021, months after he had gone missing.

      32.   On March 14, 2022, I contacted Attorney Rodney Gould.

Gould said has never met Charles Wilding in person.          He said he

was contacted by Carrie HERRLING on April 2, 2021 regarding a

Will she “found” inside a safe deposit box belonging to June

Wilding.    HERRLING delivered the Will to Gould’s office the

following week.    This was the forged Lowenstein Will, in which

the executor and beneficiary is listed as Charles Wilding.           This

Will was eventually accepted by the Probate Court.          HERRLING

told Gould that Charles Wilding was in an assisted living

facility in Northern California.

      33.   On March 15, 2022, I met with and interviewed Francine

Robbins regarding the declaration filed with the Probate Court

verifying the signature of Jocelyn Karchok (her mother-witness)

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on the Lowenstein Will.      Robbins said she never filed such a

document and that the signature on the document was not hers

(forged).   Robbins does not know, nor has she ever heard of

Lowenstein, Charles Wilding, or June Wilding.         Robbins does know

HERRLING from previous dealings, where she believes HERRLING and

her then boyfriend, James Kantor, were attempting to steal from

her through some friends that HERRLING introduced her to.

HERRLING reached out to her months ago requesting that she

authenticate a signature belonging to her mother.          Robbins

refused to do so.     Robbins believes that HERRLING is involved

with fraud and described her as dangerous.

   I. Evidence of forgery on the Wilding Will

      34.   On March 16, 2022, I was contacted by Attorney Rodney

Gould.   Gould noted that one of the witnesses to the Wilding

Will was an attorney named Dave Pasternak, who is now deceased.

Gould contacted Pasternak’s widow, Cynthia Pasternak, regarding

her husband’s signature on the Will.        Cynthia replied via email

stating that their firm specialized in receiverships and never

prepared wills for anyone.      The signature was not her husband’s.

   J. Interview of Hadley Pelletier

      35.   On March 21, 2022 I interviewed Hadley Pelletier.

Pelletier stated she was HERRLING’s “assistant” from about

October 2020 until several months ago.        She met HERRLING shortly

after college and HERRLING led Pelletier to believe she was an

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attorney.   HERRLING told Pelletier that she was “essentially” an

attorney and had gone through a program that allowed her to

practice law in the State of California.         HERRLING explained

that she specialized in Probate and Estate Law.          HERRLING was

the “overseer” to the Wilding property on Kingswood Road.

Pelletier assisted HERRLING with the clean-up of the property.

When Pelletier got involved, Charles Wilding had already been

moved.   She never met with or spoke to Charles Wilding.

HERRLING told Pelletier that she and June Wilding had met while

working at the Getty Center as docents and became friends.

Pelletier had moved in with HERRLING for a period at HERRLING’S

BEVERLY GLEN APARTMENT.      Pelletier said HERRLING would spend a

lot of time on her computer.

      36.   HERRLING and Pelletier disposed of all the belongings

from inside the Kingswood Road residence.         Pelletier recalled

that HERRLING rented large trash bins and they spent several

days cleaning out the property.       Regarding a Cadillac that was

registered to June Wilding and parked in the garage, Pelletier

stated that HERRLING had it towed, and she does not know where

it is.

      37.   On March 21, 2022, I contacted Raj Kumar, Security

Manager for the J. Paul Getty Center.        Mr. Kumar conducted a

records search and confirmed June Wilding was an employee

(Docent) at the location.      There was no record of Carrie

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HERRLING.    Furthermore, Kumar remembered June personally and

reached out to a friend named Donetta Rizzo, who still works

there.   She never heard June speak about anyone named Carrie

HERRLING.

   K. Evidence of forgery on the June Wilding Trust

      38.   On March 22, 2022, I was again contacted by Attorney

Rodney Gould.    Mr. Gould had contacted the Law Office of Kreger

and Ekizian.    The Trust document allegedly created by June

Wilding was notarized by Attorney Melvin Kreger, who is now

deceased.   According to Attorney Tami Ekizian, surviving partner

of the firm, June Wilding was never a client and the document

was forged.    On June 8, 2022, I personally contacted Tami

Ekizian.    She verified that June Wilding was never a client at

their office.    According to Ekizian, Kreger did not act solely

as a notary.    The notary service was provided during estate

planning as a convenience.      The notary books would be on file

with The Los Angeles County Clerk’s Office.

      39.   On March 28, 2022, I contacted Larry Eckert, who lives

in San Diego.    Larry’s mother and June Wilding were sisters.

Charles, “Chuck” Wilding was his cousin.         Larry recalled

visiting the Wilding home on Kingswood Road; however, over the

last decade he had not been in contact with Charles.          Larry has

never heard of Carrie HERRLING.

      40.   Charles Wilding continues to be a missing person. The

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property at 3860 Kingswood Road is currently vacant and all

furniture and belongings have been removed.         I have interviewed

HERRLING on the phone and in person.         She either cannot or will

not provide his whereabouts.       She has claimed, through Court

declaration, that she contacted Wilding on February 26, 2021.

She claimed to be in the company of Wilding on October 12, 2021,

where he provided an address in Simi Valley and the Second Fake

Wilding Number.    HERRLING has also claimed that Wilding is in a

beach house in Carpinteria and in an assisted living facility.

Substantial evidence exists that that both the June Wilding Will

and Trust were forgeries, along with the Lowenstein Will,

listing Charles Wilding as executor.

   L. Call Detail Records related to Wilding’s Landline

      41.   In April 2022, I received AT&T call detail records

(CDRs) pursuant to search warrant.         These records are associated

with the Wilding Landline and are for the period of June 1, 2020

– December 2, 2021.     During this time, there is outgoing call

activity until September 14, 2020.         The bulk of the outgoing

activity is to phone numbers associated with banks (Wells Fargo,

Bank of America), Life Protect medical alert company, and

Nutrisystem.    The phone activity on the account is indicative of

a reclusive lifestyle.      Beginning on November 5, 2020, it

appears a “Google Voice” number was set up on the Wilding

Landline.   Google Voice allows users to present one number to

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the outside world, for instance the Wilding Landline number,

while actually using an unrelated telephone to make or receive

the calls.     Of note, the first number called with this “Google

Voice” number was (323) 620-0858, HERRLING’s cellular telephone

(“HERRLING’s Cell Phone”).      (As described below, HERRLING has

admitted that this number belongs to her).         Prior to this date,

HERRLING’s phone number was never in contact with the Wilding

Landline.     This is consistent with HERRLING setting up a Google

Voice number to imitate the Wilding family home landline, and

then calling herself to see that it works.

   M. Bank of    America records belonging to HERRLING, KROTH, and
      Wilding    opened between November 2020 and February 2021
      showing    the movement of hundreds of thousands of dollars
      between   accounts.

      42.    On April 25, 2022, I received account information from

Bank of America, pursuant to a search warrant.           This information

includes various accounts set up by HERRLING;



      Account Title                  Account No./Date opened
   THE     WILDING    FAMILY 3251 4940 0550 CHECKING
   TRUST/CAROLINE J HERRLING OPENED: 11/18/20
   TRTEE U/A 7/25/13
   CAROLINE J HERRLING          3251 4964 3760 CHECKING
                                OPENED: 11/27/20
   CAROLINE J HERRLING          3251 5417 9070 SAVINGS
   CHARLES H WILDING            OPENED: 03/22/21
   JASON KROTH                  3251 5266 9689 SAVINGS
   CAROLINE J HERRLING          OPENED: 02/24/21
   JASON KROTH                  3251 5266 9728 CHECKING

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   CAROLINE HERRLING            OPENED: 02/24/21

      43.    I requested all applicable statements and signature

cards relating to these accounts for the time period of January

1, 2020 – April 1, 2022.      I noted the account opening dates of

the Wilding Family Trust/Caroline J HERRLING Trtee account

ending in -0550 (the “HERRLING’s Fake Wilding Trust Account

0550”) and HERRLING’s 3760 account (“HERRLING’s 3760 Account”)

in November 2020 were after Wilding went missing and activity

had ceased on his landline (September 2020).

      44.    The joint accounts opened on February 24, 2021, under

the names Caroline HERRLING and Jason KROTH concerned me because

KROTH has an extensive criminal history consisting of twenty-

three felony bookings and fifteen felony convictions.           The vast

majority of these convictions are for burglary, grand theft, and

transportation for sales of narcotics.

      45.    I noted high dollar transactions through these

accounts, beginning shortly after they were opened:

            a.    Between November 2020 and March 2022, over

$590,000 was deposited into HERRLING’s Fake Wilding Trust

Account 0550.

            b.    On April 5, 2022, a wire transaction from Wells

Fargo in the amount of $297,571 was deposited into HERRLING’s

Fake Wilding Trust Account 0550.


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            c.    HERRLING’s 3760 Account received $375,000 from

HERRLING’s Fake Wilding Trust Account 0550 between November 2020

and April 2022, and $63,000 from the Wilding/HERRLING Account –

9070 during the same timeframe.

            d.    The KROTH/HERRLING Account - 9689 received

deposits totaling $280,000 on three separate transactions in

October 2021.

            e.    On September 27, 2021, the KROTH and HERRLING

9728 Account received a wire transfer from Wells Fargo Bank in

the amount of $950,000.

   N. Theft of funds in June Wilding’s account

      46.    I also received statements for account number 0021

3460 1986, in the name of June Wilding.        June’s account balance

beginning on December 12, 2019 was $194,902.         On February 18,

2021, there was a withdrawal for $194,852 (the entire balance –

minus a $50.00 recurring charge for a safe deposit box).           This

withdrawal check was written to Caroline HERRLING Administrator

– Estate of June W Wilding and deposited.

      47.    Bank of America does have a record of a safe deposit

box rented by June Wilding on July 7, 1967.         This safe deposit

box is located at 16640 Ventura Bl, Encino, CA.          According to

Bank of America records, this safe deposit box was accessed by

Carrie HERRLING on February 16, 2021.

      48.    I received Call Data Records (CDR’s) relating to

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HERRLING’s Cell Phone.      These records are from April 2021- April

2022.    It is noteworthy that HERRLING’s phone is never in

contact with the phone numbers provided by HERRLING for Wilding-

-the First and Second Fake Wilding Numbers.

   O. “Charles Wilding” sighting at HERRLING’s former residence

        49.   In June 2022, I discovered that Charles Wilding was

being sued by various banks as a result of high credit card

balances being in default.      “Wilding” was personally served in

two of those suits (Wells Fargo and Citi) at HERRLING’S BEVERLY

GLEN APARTMENT.     The same process server, Charles Guerin, filed

a proof of service on December 21, 2021 and January 6, 2022.

        50.   On August 11, 2022 I contacted Charles Guerin.        He

recalled serving both documents and stated he was met by a woman

at the door on both occasions with red hair in her 40’s, which

is consistent with how HERRLING appears.         The man identifying

himself as Charles Wilding was lying in bed.         The woman stated

she was the daughter of Wilding and also an attorney and was

able to accept the service on Wilding’s behalf.          He never

verified identification for the individual purporting to be

Wilding.

   P. Additional Fraud on Georgette Kelly

        51.   During the week of September 6, 2022, I received

messages from neighbors on Kingswood Road that it appeared that

individuals moved into the Wilding property.

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      52.   On September 12, 2022, I responded to the property and

met with Georgette Kelly and Anthony DeLuca.         According to

Georgette, she responded to an advertisement on Avail.com to

rent the property at 3860 Kingswood Road.         She contacted

“Carolyn Phoenix” and met with her at a local coffee shop.

HERRLING, posing as “Carolyn Phoenix,” provided a rental

agreement of $4,000 per month. Georgette gave HERRLING a cash

down payment of $6,075.      Georgette identified a photograph of

HERRLING as “Carolyn Phoenix.”       According to the rental

agreement, Georgette was to send the rent payment to 12571 Capra

Rd, Santa Clarita.     This location is an abandoned and boarded up

property, which I visited on September 22, 2022.          The rental

agreement was signed on September 2, 2022.         Georgette provided

me a copy of the rental agreement signed by her and “Caroline

Phoenix” (HERRLING).     It is a common tactic in real

estate/rental scams for a “landlord” to meet with unsuspecting

individuals and collecting rent and security deposit with no

intention of renting the property or having no legal right for

renting the property.     Knowing that the property was abandoned,

HERRLING, using her “Phoenix” alias, appears to have created an

online rental listing for it, which was answered by Georgette.

HERRLING instructed Georgette to meet her a location other than

the property and collected the cash “deposit.”          Georgette has

attempted to contact HERRLING via the phone number provided on

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the rental agreement, (818)424-6571; however, no one has

answered the line or returned her calls.

   Q. Forged Power of Attorney for Wilding appointing HERRLING

      53.   Attorney Rodney Gould filed a motion in court to

vacate probate in the Wilding and Lowenstein matters.           According

to Gould, HERRLING has contested this motion and is represented

by Attorney H. Todd Stevenson.       There was some discussion in

court that Stevenson had some information regarding Wilding’s

whereabouts.

      54.   I contacted Stevenson by phone on September 22, 2022.

Stevenson provided me with a copy of the Power of Attorney (POA)

for Wilding, appointing HERRLING as the agent.          I noticed the

POA was dated, signed, and notarized on November 23, 2020.            The

notary was Abraham Kanaan.

      55.   I interviewed Kanaan on October 19, 2022.        Kanaan

reviewed his notary ledger in my presence and located the

entries for November 23, 2020.       HERRLING was a client on that

date; however, Wilding was not.       Moreover, the document HERRLING

had notarized (according to the ledger) was an affidavit for

collection of personal property.       Kanaan reviewed the notarized

“Certificate of Acknowledgement” on the POA listing the names of

Charles Wilding and Caroline HERRLING.        According to Kanaan, the

handwritten name of Charles Wilding was not his.          Furthermore,

it was Kanaan’s opinion that his signature on the second page of

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the acknowledgement was altered.       Kanaan stated that both

Wilding and HERRLING would have needed to be present to notarize

the POA.

   R. The Wilding Family Trust Was Forged

      56.    In November 2022, Attorney Rodney Gould filed a

petition for probate on behalf of Larry Eckert for the Wilding

estate.     HERRLING, through her attorney, H. Todd Stevenson,

filed an objection.     The objection states, in part, “June

Wilding, with her attorney, Hamid Soleimanian, Esq., created a

Trust and Pour Over Will, both of which were signed, dated,

notarized, and witnessed by two witnesses on July 25, 2013.”

Stevenson referenced and attached a letter from Soleimanian to

June Wilding dated August 5, 2013 referencing the trust.           This

letter was provided by HERRLING, purportedly establishing the

authenticity of the June Wilding Trust.

      57.    Mr. Gould provided me a copy of the letter written by

Soleimanian and dated August 5, 2013.        The letter is addressed

to June Wilding at the Kingswood Road address with the subject

line: The June W. Wilding Living Trust Dated July 25, 2013.            The

letter references the attached original and copy of the June W.

Wilding Living Trust and states the importance of transferring

her assets into the trust.      The letter purports to be signed by

Hamid Soleimanian.

      58.    On November 15, 2022, I interviewed Hamid Soleimanian

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at his office.     Soleimanian was shown a copy of the letter and

Trust.    He stated that the letter was forged, and someone

obtained his letterhead and stock signature.         After checking his

records, he determined June Wilding was not a client of his.

Furthermore, after examining the Trust document, he explained

the structure and format are not consistent with his office.

        59.   It is important to note that according to HERRLING and

the filings in Probate Court, the Trust was drafted by

Soleimanian; however, it was notarized by Melvin Kreger.           Kreger

was an estate planning attorney, and according to the surviving

partner (Ekezian), June Wilding was not a client.          The Trust is

dated July 25, 2013.     The notary stamp by Kreger is dated July

25, 2013 and the letter from Soleimanian is dated August 5,

2013.    On December 8, 2022, Attorney Rodney Gould informed me

that he had spoken with Soleimanian regarding the Wilding Trust.

Soleimanian has never worked with, and never met, Melvin Kreger.

   S. Fraud on Robert Tascon’s property, 5309 Louise Ave, Encino,
      CA. by HERRLING and KROTH

        60.   I have received substantial assistance in this

investigation from Inspector Lyndon Versoza, United States

Postal Inspection Service (USPIS).         Inspector Versoza was

provided the bank records obtained by State Search Warrant from

Bank of America pertaining to HERRLING’s accounts detailed

above.

        61.   Of note was a wire transfer on September 27, 2021 in
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the amount of $950,000 into the joint account held by HERRLING

and KROTH, ending in 9778.

       62.     Through investigation, it was determined this deposit

was related to the proceeds from the sale of a property located

at 5309 Louise Ave, Encino, CA 91316 in Spring 2021 (“Tascon

Property”).

       63.     Gloria Payne, Fraud Review Administrator for Fidelity

National Title Group alerted Law Enforcement regarding possible

identity theft and forgery relating to the sale of the Tascon

Property.

       64.     In a letter dated June 24, 2022, Payne explained the

former owner of the property, Robert Tascon, contends that his

signature on the Grant Deed and other sale documents,

transferring title to Land Developer and Associates Corp

(LDAC)., were forged.              According to Payne, one of the owners at

LDAC, Steven Tobias, was approached by a woman named Caroline

Phenix (one of HERRLING’s aliases). 2                     Phenix represented herself

as a licensed California attorney representing property owners

in distressed situations needing to sell.                         Phenix showed Tobias

multiple properties, including the Louise property.                              LDAC




2
 Her California Driver’s License, SSN, and one arrest (for prostitution) in 2011 are all in the name
CAROLINE HERRLING. However, her social media, which shows her photograph, is all in the
name CAROLINE PHENIX. Many other records, including lawsuits, also show her name as
PHENIX. Her credit report lists both names and shows an additional alias of Caroline “Gardiner.”
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entered into a purchase and sale agreement for the property,

purportedly with Tascon, for $1.5 Million.         On September 8,

2021, escrow instructions were executed, and the sale proceeds

distributed.    $950,000 was transferred into the Bank of America

account held by HERRLING and KROTH.

      65.   An additional proceeds check in the amount of $343,131

was personally retrieved by KROTH from the escrow company and

deposited into an E*Trade Account allegedly held by Tascon.

Tascon, however, claimed he never opened this account.

      66.   The signature on the Grant Deed dated September 14,

2021 was notarized by Anne Marie Lim Ayunyan.

   T. Forged notary signature for Grant Deed

      67.   Los Angeles Police Department Detective M. Segura,

Serial No. 32218, Commercial Crimes Division, Real Estate Fraud

Section, told me they received the letter from Gloria Payne and

completed an Investigative Report (IR) titled “Forgery,” LAPD DR

No. XX-XXXXXXX.    Detective Segura obtained the Notary Journal

from Ayunyan containing the entry for the notarized signature of

Tascon with his thumbprint.      Detective Segura submitted that

thumbprint for comparison examination to Tascon’s thumbprint on

his California Department of Motor Vehicle Driver License.           It

was determined they did not match.

      68.   On October 14, 2021, Tascon, through his attorney,

contacted LDAC and claimed the sale was fraudulent.

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      69.   According to police reports, Tascon died on September

11, 2022, in Abilene, TX.      The police determined that Tascon,

who died of a single gunshot to the head, committed suicide.

Their report noted that he had a history of mental illness and

was involved in fraud litigation (regarding the property that

HERRLING, posing as Phenix, had sold using an imposter Tascon).

The police report indicated that there was no witness to the

shooting, and that Tascon’s body was cold by the time it was

discovered in the evening.      The last person to see Tascon alive

that morning, a housemate, indicated that Tascon seemed fine

when he spoke to him before leaving for work.         There was no

suicide note.




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   U. Forged Power of Attorney by HERRLING to Obtain funds from the
      Fraudulent Sale of the Tascon Property;

      70.    On December 7, 2022, I reviewed escrow records from

the Tascon property.     From my review I observed an email

correspondence from HERRLING, using her Caroline Phenix alias,

and the escrow officer, Janice Yeh:




            a.    In an email chain from September 22 through

September 24, 2022, HERRLING corresponded with the escrow

officer, Janice Yeh.     HERRLING appeared to be coordinating the

release of funds of the fraudulent sale of the Tascon property

to her co-conspirator, KROTH.       In this chain of emails, Yeh sent

an email to white.sand@yahoo.com who she believed was Tascon.

Yeh told HERRLING (who as described below was posing as Tascon),

that she could not release the funds to KROTH, only to Tascon
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since they did not have a notarized Power of Attorney from

Tascon granting the power of attorney from Tascon to KROTH.

HERRLING responded to Yeh that she indeed has a copy of the

Power of Attorney from Tascon and offered to personally drop off

the copy to Yeh.

     71.   On December 8, 2022, I looked at records from

Yahoo.com and learned that the email white.sand@yahoo.com was

opened and registered to HERRLING’s Cell Phone.          HERRLING used

this number to call the attorney for the buyer of the property

and told the attorney that that number belongs to her.           I

believe that when the escrow officer communicated with Tascon

through the white.sand@yahoo.com email, she was actually

communicating with HERRLING.

     72.   I also reviewed the Power of Attorney document

provided by HERRLING to Janice Yeh.        Based on this document,

Postal Inspector Versoza told me that an agent in his office

spoke with the notary public who notarized the document.             The

notary provided his log for that notarization to the Postal

Inspectors.    I reviewed this document and compared the

fingerprint to Tascon’s California driver license and determined

that it did not belong to Tascon.       I also observed that the

California ID listed in the log was not Tascon’s true California

Driver’s License number.      I believe that the Tascon power of

attorney document which Janice Yeh needed before she released

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the funds to KROTH was a counterfeit.

     73.    On December 12, 2022, I reviewed records I obtained

from Google for HERRLING’s Google email account.          Among the

saved images in HERRLING’s Google email account was an image of

a counterfeit California Driver’s License bearing the name

Robert Tascon, but with a photograph of an unidentified man who

is not Tascon.     This counterfeit driver’s license number is the

same number in the notary’s logs, confirming that the document

HERRLING provided to the escrow company was counterfeit.

     74.    During my interview of HERRLING on January 12, 2023,

HERRLING told me that she had nothing to do with the sale of the

Tascon property.     She claimed all she did was drive Tascon to

the notary and was paid only a small amount, maybe $150.           When I

asked her to describe Tascon, HERRLING could not.          She said he

was wearing a hat and a mask so she could not describe him.

Later when confronted about her profiting from the sale of

Tascon’s house ($950,000, discussed below), HERRLING did not

deny it, saying that she did not leave Tascon destitute.

HERRLING could not explain what she had done to justify getting

the $950,000 that she and Kroth took from the sale of the Tascon

property. HERRLING admitted to controlling the

white.sand@yahoo.com email.

   V. HERRLING’S    WOODLAKE   RESIDENCE    Was   Purchased   with    Fraud
      Proceeds

      75.   On December 7, 2022, I reviewed records from bank of
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America and learned that HERRLING used funds obtained from the

fraudulent sale of the Tascon property to purchase HERRLING’S

WOODLAKE RESIDENCE.     HERRLING’S WOODLAKE RESIDENCE is where

HERRLING currently resides:

           a.    On or about September 27, 2021, $950,000 which

was obtained through the fraudulent sale of the TASCON property

was deposited into Bank of America Account ending in -9728 (the

“KROTH and HERRLING 9728 Account”).        The KROTH and HERRLING 9728

Account was opened under the name of Jason KROTH and Caroline

HERRLING.

           b.    Between March 2021 and September 2021, in three

transactions the KROTH and HERRLING 9728 Account transferred

$381,500 to HERRLING’s 3760 Account at Bank of America.

           c.    Between January and March 2022, $409,235 in funds

held in HERRLING’s 3760 Account moved to the escrow company to

purchase HERRLING’S WOODLAKE RESIDENCE.

   W. HERRLING Purports to be an attorney and evades taxes

     76.    On December 14, 2022, I reviewed the California Bar

Association website and found that the California Bar sent

Caroline J. Phenix a “Cease and Desist” notice on February 12,

2021.   According to the website, the California Bar issues a

Cease and Desist notice when “the investigation uncovers an

isolated instance of UPL (Unauthorized Practice of Law).”

     77.    On December 14, 2022, I reviewed records from the

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California Franchise Tax Board.       From this review I learned that

HERRLING has not filed taxes since 2015.

   X. The Search of HERRLING’s Current and Former Residences

     78.     On January 6, 2023, Chief U.S. Magistrate Judge

Stevenson issued search warrants for the current and former

residences of HERRLING, which I and other law enforcement

officers executed on January 12, 2023.

   Y. Defendant’s Current Residence Contained Her Private Office
      which Was Full of Evidence of Fraud

     79.     On January 12, 2023, I reviewed the evidence recovered

from HERRLING’s current residence, 8361 WOODLAKE AVENUE, WEST

HILLS, CALIFORNIA 91304.      I learned that law enforcement

discovered an office which HERRLING said was hers.          Inside this

office were numerous identity documents (fake and stolen driver

license, California ID), credit cards, social security cards,

birth certificates and passports not in HERRLING’s name.           Some

of the fakes were found in HERRLING’s emails, including a

different fake ID bearing the face of an individual not Robert

Tascon but with his identifying information.         Other fakes

appeared to be in the process of production, with untrimmed ID

cards printed on photopaper.       Additionally found in HERRLING’s

residence was a machine that appeared to make documents look

older.     According to Inspector Thompson, this machine would be

useful in forging Wills and Trust documents by making them

appear aged and therefore not recent forgeries. Also found was a
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CNC Router Drawing Robot Kit, which allows a computer to sign

and forge exact copies of signatures. Also found were pieces of

paper that appeared to be rehearsed signatures of June Wilding’s

signature. Additionally, I learned that counterfeit US Savings

Bonds were recovered.     Inspector Versoza told me they were

counterfeit as one of the sheets had a dried wet spot where the

ink bled.   Inspector Versoza told me that the ink of an

authentic US Savings Bond should not run.

     80.    During an interview of HERRLING, HERRLING said that

the office belonged to her.      She also admitted the Wilding,

Lowenstein, and Tascon documents belonged to her.          She also

admitted that she has in her possession Lowenstein’s valuable

property including art, and collectibles, which she is selling.

HERRLING stated that she is allowed to sell these items for the

executor of the Lowenstein trust.

     81.    HERRLING’s boyfriend, Samuel Shtolzberg (“Shtolzberg”)

who was present at the house during the search said that he

shared the bedroom with HERRLING but that all the documents

belonged to HERRLING.     He said the office belonged to HERRLING

and he does not have access to it.         He has only been inside the

office with her present.

     82.    Shtolzberg also said that the HERRLING residence was

being ran as a sober living residence.        I believe this means

that rooms were being rented to drug addicts who were working on

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their sobriety.     Shtolzberg said that the sober living residents

were primarily fentanyl addicts, and that they are not allowed

to have drugs in the house.      Shtolzberg said that when HERRLING

and he smoked methamphetamine, they did so out of sight of the

fentanyl addicts.

   Z. HERRLING Possessed a Look-Alike Passport

     83.     Additionally, some of the stolen identities appeared

to belong to people who are not HERRLING but have a strong

resemblance to HERRLING.      This included:

             a.   A United States Passport in the name of Andrea

Gomez.     Andrea appears to have a similar complexion and hair

color as HERRLING.

             b.   A California identification card in the name of

Lauren Chapdelaine who also had red hair and similar complexion

to HERRLING.

             c.   A California Driver License in the name of Carly

Betkey.    The photo on this Driver License is of a woman, also

with red hair and similar complexion to HERRLING.

   AA.     HERRLING     Possessed      Many    Drugs,     Including     for
      Distribution

     84.     At HERRLING’s current residence, officers found

various drugs in HERRLING’s bedroom, the garage, and a safe in

her office.

           a.     HERRLING’s bedroom contained substances that

appeared to be illegal drugs, such as psilocybin, heroin, and
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methamphetamine.     This included ten gross grams of psilocybin in

a sandwich bag; several small baggies totaling four gross grams

of methamphetamine, according to a “Tru-Narc” narcotics

analyzing device; and several baggies of brown powder substance,

and several pieces of brown tar-like substance wrapped in foil,

which appear to be heroin.      One of the substances appears to be

a cookie-sized puck that had been pressed.         A search team member

observed a molding press in HERRLING’s residence that appeared

to match it, suggesting that someone in HERRLING’s residence

made the puck, as drug traffickers, not users, would do.           These

substances have not been confirmed to be narcotics, but appear

to be heroin combined the heroin-like substance weighed about 65

gross grams.

          85.    In HERRLING’s office was a safe that HERRLING

said belonged to her.     She said she did not remember the code

and there was nothing in this safe.        Law enforcement forced open

the safe and found an additional eight gross grams of

methamphetamine-like substance.       This substance was later tested

by Tru-Narc and also tested positive for methamphetamine.           When

I interviewed HERRLING, she claimed to be surprised that drugs

were found in her safe.

          86.    Shtolzberg told me that the drugs in the garage

were methamphetamine and the scale along with the two guns in

the backpack belonged to him.       He said he shared the

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methamphetamine with HERRLING.       Shtolzberg also said that the

other drugs in the house belonged to HERRLING (i.e., the heroin

and mushrooms, and the methamphetamine in the safe and bedroom).

Shtolzberg said that he and HERRLING were both regular users of

methamphetamine. Shtolzberg said that the residence was a sober

living facility so he and HERRLING would use drugs away from the

sober living residents such as in their bedroom.          He said drugs

confiscated from the residents of the sober living program were

immediately flushed. From my observations the HERRLING bedroom,

which sat above the garage and the garage itself are separated

from the rest of the residences by a wall.         The bedroom and

garaged were only accessible from outside the structure.

          87.    Inspector Versoza told me that in his office, he

weighed the four bags of methamphetamine in the garage that

Shtolzberg talked about. The bags of methamphetamine weighed

about 75 gross grams.     Also found in the garage was several

small baggies of black tar-like substance.         This substance was

tested with a field test kit as positive for opiates.

          88.    I learned from multiple law enforcement sources,

including an LAPD drug expert, the following:         A dose of

methamphetamine is often one tenth of a gram, so the seized

methamphetamine would represent several hundred doses.           Users

would not need a scale or extra baggies, as were found in

HERRLING’s residence.     It is unusual for mere users to possess

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or carry firearms, especially assault rifles, but that dealers

often keep firearms on their persons or in their residences to

defend their stashes from persons who might otherwise rob them.

           89.    I reviewed messages in HERRLING’s phone and found

a message dated December 14, 2022 from “Brandon” in which he

appeared to want to purchase drugs through HERRLING. His text

message to HERRLING said “Hey carrie what’s up, can you come

talk to me please Was just wondering if we could still order

weed.”

           90.    In a message from Shtolzberg to HERRLING, dated

December 3, 2022, Shtolzberg tells HERRLING: “you cannot discuss

our business with anoyone other than you and I.          Think of how

that looks with him selling dope and you are talking about work

with him.”

           91.    During the interview of HERRLING, she claimed

that she has used drugs in the past, but was not currently a

drug user, and did not need drug rehabilitation.

   BB.       HERRLING Possessed Loaded Guns and Fake Badges

     92.     Found in HERRLING’s home were numerous guns, including

assault rifles, handguns and un-serialized “ghost” guns that

cannot be traced.     Many of these guns were loaded, including one

found in HERRLING’s purse. In the closet of her bedroom, on

display were several assault weapons including AR15 type guns,

AR15 receivers, a shotgun and magazines:

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                                                        .

     93.   Also secreted in HERRLING’s bedroom near her bed was a

gun stash that required the use of magnets to uncover.           Also,

beside her bed was a ghost gun.

     94.   In the garage of the house were additional handguns

and rifles tucked in various corners. Inspector Versoza told me

that in total we recovered from the residence 16 guns.           Two were

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ghost guns, 1 shotgun, six receivers, five pistols, one slide

and one rifle. Many of these guns were loaded.

     95.   Based on my training and experience, and the placement

of these loaded guns, it appeared that the guns were placed for

easy access and allowed HERRLING and Shtolzberg to defend the

residence from an attack.

     96.   During the interview of HERRLING, she admitted to

owning some guns.

     97.   During the interview of Shtolzberg, he said that the

guns hanging in the closet belonged to HERRLING.          He only owned

two guns where were in his backpack in the garage. Shtolzberg

said that he and HERRLING would often go to the shooting range

to practice.

     98.   Found in HERRLING’s office were two authentic looking

but likely fake federal law enforcement badges: one for the Drug

Enforcement Administration and the other for the US Diplomatic

Security Service.     I believe they are fake because these badges

were not serialized.     In HERRLING’s bedroom was a serialized

badge for a Beverly Hills Police Detective. Inspector Versoza

told me he spoke with a Detective at Beverly Hills Police who

said that the badge appeared to be a reproduction.

     99.   During the interview of HERRLING, she admitted that

the badges belonged to her, but claimed that she just used them

as “costume” and denied ever representing herself as law

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enforcement.




     100.



   CC.     Defendant Appears to Have Conducted Other Estate Frauds
      and was Selecting Targets for more Victims

     101. During the search of 8361 WOODLAKE AVENUE, WEST HILLS,

CALIFORNIA 91304 officers found a digital spreadsheet with a tab

called “Heir Index”.     This index listed a column with property

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ID numbers and a column labeled “Heir’s Name.”          A third column

was labeled “Entitled Amount”, a fourth Column said “Current

Balance”.    In this spreadsheet I saw dozens of rows of data.

Another tab called “Estates file” listed decedent’s names and

aliases as well as properties and heir.        There were searches on

HERRLING’s digital devices for “millionaire” and “obituary,”

suggesting that she was looking for rich dead persons who would

be good targets for her inheritance fraud scheme.

     102. Also found were screen shots of mail forwarding where

HERRLING documented occasions where she diverted mail from an

address in Acton CA to her BEVERLY GLEN residence were found in

her phone.

   DD.     Defendant Refused to Provide the Passcode to Her Digital
      Devices.

     103. During the execution of the search warrant at her

residence, HERRLING refused to provide the passcodes to her

digital devices.

     104. During the interview of HERRLING, I used a ruse to ask

for a phone number of a person HERRLING was describing.

HERRLING unlocked her phone to give me the number, which allowed

to take her unlocked phone.      The unlocked device allowed me and

other officers to review her phone, but this is temporary and

only allows me to look at the contents before the phone locks

itself.   Also in this mode, I know that computer forensics

cannot download the data without the passcode.
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      105. At 2337 S. BEVERLY GLEN BOULEVARD, UNIT 6, LOS

ANGELES, CALIFORNIA 90064, HERRLING’s former residence from

which she has been locked out for failing to pay rent since

August 2022, officers informed me they found among other

evidence were evidence of HERRLING’s forgeries and fraud

including stolen mail, a passport in the name of Norman

Lowenstein, checks addressed to the Wilding Family Trust, boxes

photos and mail in the name of Charles Wilding, power of

attorney documents, tax and bank documents, documents in various

victims’ names, and files in various victims’ names.

      106. Officers also found dozens if not hundreds of file

folders.    Inside the file folders appear to be documents where

HERRLING acts as a criminal attorney for clients.          For example:

           a.    One manila folder labeled “Mike Kollar” had

numerous handwritten and printed documents.         Printed was a sheet

called “Criminal Case Summary”, a bail bond agreement, and

handwritten notes that had written words like “Accepted Bond,

file with city mistaken identity bonded out.”

           b.    Another manila folder labeled Rodriguez had an

invoice for $3,000 for litigation support services from a

company called “Publicly Correct” at HERRLING’s BEVERLY GLEN

Address.    Also inside the folder was handwritten notes that said

things like “Request to Judge for Drug Court Romero Motion (10-

15 hours)” and additional notes see below attached image I took

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of the file.




          c.     Other folders contained documents that showed

that HERRLING using the name Phenix is the owner of Publicly

Correct. For example a letter from the Santa Clara County office

of County Counsel sent a letter addressed to “Caroline Phenix,

Managing Partner Publicly Correct.”        The letter appears to be

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correspondence with the attorneys for the county about why they

are denying her request for a grievance hearing for her client.

Inside the folder were numerous invoices for thousands of

dollars for he travel, “reviewed of attorney’s files,”

“preparation for hearing” and other line item billing

descriptions.

            d.   On January 13, 2023, I conducted an online search

and found a LinkedIn page for Caroline Phenix, which included a

photo I recognize as HERRLING.       This LinkedIn profile says that

she is the “Founder and Managing Partner at Publicly Correct.”

      107. Inspector Versoza told me that in his training and

experience, most electronic transactions and communications

cause an interstate wire, even when the recipient and sender are

in the same state.     Businesses such as banks and

telecommunication providers regularly route signals through

digital hubs, and send them also to back-up servers to protect

the data, which typically involves the signals crossing state

lines.

      ///




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      CONCLUSION

      108. For the reasons stated above, there is probable cause

to believe that CAROLINE HERRLING violated 18 U.S.C. §§ 1028A,

1343, and 1349, and 21 U.S.C. § 841(a)(1).


Attested to by the applicant in accordance with
the requirements of Fed. R. Crim. P. 4.1 by
                   13th day of January, 2023.
telephone on this ____




UNITED STATES MAGISTRATE JUDGE




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